   AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                          Sheet 1



                                             UNITED STATES DISTRICT COURT
                                                               District
                                                        __________      of Columbia
                                                                    District of __________
                                                                             )
                 UNITED STATES OF AMERICA                                    )         JUDGMENT IN A CRIMINAL CASE
                            v.                                               )
                              Sonia Tabizada                                 )
                                                                             )         Case Number: CR 19-402 (CJN)
                                                                             )         USM Number: 79085-112
                                                                             )
                                                                             )          Carmen Hernandez
                                                                             )         Defendant’s Attorney
   THE DEFENDANT:
   ✔ pleaded guilty to count(s)
   G                                     1 of Indictment filed 12/6/2019
   G pleaded nolo contendere to count(s)
      which was accepted by the court.
   G was found guilty on count(s)
      after a plea of not guilty.

   The defendant is adjudicated guilty of these offenses:

   Title & Section ?                 Nature of Offense                                                           Offense Ended             Count
   18 274(a)(2) and (d)3             DAMAGE TO RELIGIOUS PROPERTY/OBSTRUCTION OF                                 5/13/2019             1

                                         RELIGIOUS BELIEF; Obstructing Religious Exercise by

                                         Threat

          The defendant is sentenced as provided in pages 2 through                7          of this judgment. The sentence is imposed pursuant to
   the Sentencing Reform Act of 1984.
   G The defendant has been found not guilty on count(s)
   ✔ Count(s)
   G               7      2                                ✔ is
                                                           G         G are dismissed on the motion of the United States.
            It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
   or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
   the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                                3/26/2021
                                                                            Date of Imposition of Judgment




                                                                            Signature of Judge




                                                                                           Carl J. Nichols              U.S. District Judge
                                                                            Name and Title of Judge


                                                                                                                3/26/2021
                                                                            Date




                                                                                                              This page is always included when printing.

Print this page now           Reset this page
   AO 245B (Rev. 09/19) Judgment in Criminal Case
                        Sheet 2 — Imprisonment

                                                                                                      Judgment — Page      2        of   7
    DEFENDANT: Sonia Tabizada
    CASE NUMBER: CR 19-402 (CJN)

                                                             IMPRISONMENT
              The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
    total term of:
     Time Served: Fifteen (15) Months and Thirteen (13) days




         G The court makes the following recommendations to the Bureau of Prisons:




         G The defendant is remanded to the custody of the United States Marshal.

         G The defendant shall surrender to the United States Marshal for this district:
             G at                                   G a.m.      G p.m.         on                                              .

             G as notified by the United States Marshal.

         G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             G before 2 p.m. on                                            .

             G as notified by the United States Marshal.
             G as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
    I have executed this judgment as follows:




             Defendant delivered on                                                        to

    at                                               , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                           By
                                                                                                 DEPUTY UNITED STATES MARSHAL




                                                                                                                 Include this page when printing?
Print this page now           Reset this page                                                                                      Yes   No
   AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                          Sheet 3 — Supervised Release
                                                                                                         Judgment—Page     3     of       7
   DEFENDANT: Sonia Tabizada
   CASE NUMBER: CR 19-402 (CJN)
                                                          SUPERVISED RELEASE
   Upon release from imprisonment, you will be on supervised release for a term of:
    Twenty-Four (24) Months




                                                         MANDATORY CONDITIONS
   1.   You must not commit another federal, state or local crime.
   2.   You must not unlawfully possess a controlled substance.
   3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               G The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
   4.    G  You   must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution. (check if applicable)
   5.    G✔ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
   6.    G You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
   7.    G You must participate in an approved program for domestic violence. (check if applicable)
   You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
   page.




                                                                                                                 Include this page when printing?
Print this page now           Reset this page                                                                                  Yes         No
    AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                           Sheet 3A — Supervised Release
                                                                                                   Judgment—Page         4        of         7
    DEFENDANT: Sonia Tabizada
    CASE NUMBER: CR 19-402 (CJN)

                                           STANDARD CONDITIONS OF SUPERVISION
    As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
    because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
    officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

    1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
          release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
          frame.
    2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
          when you must report to the probation officer, and you must report to the probation officer as instructed.
    3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
          court or the probation officer.
    4.    You must answer truthfully the questions asked by your probation officer.
    5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
          arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
          the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
          hours of becoming aware of a change or expected change.
    6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
          take any items prohibited by the conditions of your supervision that he or she observes in plain view.
    7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
          doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
          you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
          responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
          days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
          becoming aware of a change or expected change.
    8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
          convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
          probation officer.
    9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
    10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
          designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
    11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
          first getting the permission of the court.
    12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
          require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
          person and confirm that you have notified the person about the risk.
    13.   You must follow the instructions of the probation officer related to the conditions of supervision.



    U.S. Probation Office Use Only
    A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
    judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
    Release Conditions, available at: www.uscourts.gov.


    Defendant's Signature                                                                                    Date




                                                                                                                     Include this page when printing?
Print this page now           Reset this page                                                                                     Yes            No
    AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                           Sheet 3D — Supervised Release
                                                                                                Judgment—Page    5     of       7
    DEFENDANT: Sonia Tabizada
    CASE NUMBER: CR 19-402 (CJN)

                                             SPECIAL CONDITIONS OF SUPERVISION
     Substance Abuse Treatment -You must participate in an inpatient and/or outpatient substance abuse treatment program
     and follow the rules and regulations of that program. The probation officer will supervise your participation in the program
     (provider, location, modality, duration, intensity, etc.).

     Substance Abuse Testing - You must submit to substance abuse testing to determine if you have used a prohibited
     substance. You must not attempt to obstruct or tamper with the testing methods.

     Mental Health Treatment - You must participate in a mental health treatment program and follow the rules and regulations
     of that program. The probation officer, in consultation with the treatment provider, will supervise your participation in the
     program (provider, location, modality, duration, intensity, etc.).

     Vocational Services Program - You must participate in a vocational services program and follow the rules and regulations
     of that program. Such a program may include job readiness training and skills development training.




                                                                                                         Include this page when printing?
Print this page now          Reset this page                                                                         Yes            No
   AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                          Sheet 5 — Criminal Monetary Penalties
                                                                                                       Judgment — Page       6    of         7
    DEFENDANT: Sonia Tabizada
    CASE NUMBER: CR 19-402 (CJN)
                                                   CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                  Restitution             Fine                  AVAA Assessment*            JVTA Assessment**
    TOTALS           $ 100.00                  $                      $                      $                           $


    G The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be
         entered after such determination.

    G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
         before the United States is paid.

    Name of Payee                                                 Total Loss***              Restitution Ordered         Priority or Percentage




    TOTALS                               $                         0.00           $                    0.00


    G     Restitution amount ordered pursuant to plea agreement $

    G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

    G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          G the interest requirement is waived for the            G fine    G restitution.
          G the interest requirement for the           G fine      G restitution is modified as follows:

    * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
    ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
    *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
    or after September 13, 1994, but before April 23, 1996.


                                                                                                                      Include this page when printing?
Print this page now           Reset this page                                                                                    Yes             No
   AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                          Sheet 6 — Schedule of Payments

                                                                                                                  Judgment — Page      7      of      7
    DEFENDANT: Sonia Tabizada
    CASE NUMBER: CR 19-402 (CJN)

                                                           SCHEDULE OF PAYMENTS

    Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

    A    ✔ Lump sum payment of $ 100.00
         G                                                         due immediately, balance due

               G     not later than                                    , or
               G     in accordance with     G C,       G D,       G E, or         G F below; or
    B    G Payment to begin immediately (may be combined with                   G C,        G D, or       G F below); or
    C    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                              (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

    D    G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                              (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
               term of supervision; or

    E    G Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

    F    ✔ Special instructions regarding the payment of criminal monetary penalties:
         G
                The financial obligations are immediately payable to the Clerk of the Court for the U.S. District Court, 333
                Constitution Ave NW, Washington, DC 20001. Within 30 days of any change of address, you shall notify the Clerk
                of the Court of the change until such time as the financial obligation is paid in full.



    Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
    the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
    Financial Responsibility Program, are made to the clerk of the court.

    The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



    G Joint and Several
         Case Number
         Defendant and Co-Defendant Names                                                     Joint and Several                Corresponding Payee,
         (including defendant number)                         Total Amount                         Amount                          if appropriate




    G The defendant shall pay the cost of prosecution.
    G The defendant shall pay the following court cost(s):
    G The defendant shall forfeit the defendant’s interest in the following property to the United States:


    Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
    (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
    prosecution and court costs.


                                                                                                                            Include this page when printing?
Print this page now           Reset this page                                                                                              Yes        No
